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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                    )
                                          )
11380 SMITH ROAD, LLC,                    )     Case No. 18-10965
EIN: XX-XXXXXXX,                          )     Chapter 11
                                          )
        Debtor.                           )
                                          )
_____________________________________________________________________________

     11380 EAST SMITH RD INVESTMENTS, LLC’S, EX PARTE MOTION FOR RULE
              2004 EXAMINATION OF DEBTOR 11380 SMITH ROAD, LLC


        11380 East Smith RD Investments, LLC (“Lender”), the Debtor’s sole secured creditor
in this chapter 11 case, by and through its undersigned counsel, Moye White LLP, files its Ex
Parte Motion for Rule 2004 Examination of Debtor 11380 Smith Road, LLC (the “Motion”). In
support of the Motion, Lender states as follows:

                                   Jurisdiction and Venue

       1.      This Court has jurisdiction over this Chapter 11 case pursuant to 28 U.S.C. §§
157(a) and (b), and 1334(a) and (b). This matter constitutes a core proceeding under 28 U.S.C. §
157(b)(2)(A) as this matter concerns the administration of the Debtor’s estate. The rule based
predicate for relief in this Motion is Rule 2004 of the Bankruptcy Rules and L.B.R. 2014-1.
Venue is proper in this Court pursuant to 28 U.S.C. § 1409.

                                         Background

A.       Prepetition Loan Obligations.

        2.     On October 25, 2016, the Debtor made, executed and delivered its promissory
note to Lender in the principal amount of $3,000,000 (the “Note”).

       3.     On October 25, 2016, in order to secure the obligations due and owing under the
Note, the Debtor executed a Deed of Trust, Security Agreement, Financing Statement and
Assignment of Rents and Revenues (the “DOT”) in favor of Lender.

       4.     The DOT granted Lender a first-position security interest in the real property
commonly known as 11380 East Smith Road, Aurora, Colorado 80010 (the “Property”).
Lender perfected its security interest in the Property, on October 26, 2016, when it recorded a
copy of the DOT with the Clerk and Recorder of Adams County, Colorado, as Reception No.
2016000091839.




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       5.    To further secure the obligations due and owing under the Note, Debtor executed
an Assignment of Rents and Leases (the “AOR”) in favor of lender.

       6.      The AOR granted a security interest to Lender in all of the “rents, issues,
earnings, income, profits, benefits and advantages arising from the Property and from said
Leases and all other sums due or to become due under and pursuant thereto . . .”. On October 26,
2016, Lender recorded a copy of the AOR with the Clerk and Recorder of Adams County,
Colorado, as Reception No. 2016000091840.

       7.    In connection with the loan, Debtor presented Lender with two separate leases
which burdened the Property. The first lease was between the Debtor and Hi-Tec Plastics, Inc.
(“HTP”), with a term that runs through December 31, 2018 (the “HTP Lease”). The second
lease was between the Debtor and Hi-Tec Recycling, Inc. (“HTR”), with a term that runs
through December 31, 2018 (the “HTR Lease”).

        8.     The Debtor’s authorized representative, Mr. Louis Hard (“Mr. Hard”), is the
registered agent for both HTP and HTR.

       9.      The Note matured by its terms on October 25, 2017, and the Debtor failed to
repay the obligations due and owing thereunder according to the terms thereof.

       10.     Prior to the commencement of this Chapter 11 case, Lender had properly noticed
a Trustee’s Sale of the Property that was set for February 14, 2018 at 10:00 a.m. (the “Trustee’s
Sale”). A true and correct copy of the notice of Trustee’s Sale is attached hereto as Exhibit 1.

B.     Background Regarding This Bankruptcy Case.

      11.    On February 13, 2018, the day before the Trustee’s Sale, the Debtor initiated this
bankruptcy case when it filed his voluntary petition for relief under Chapter 11 of the
Bankruptcy Code. (Docket No. 1).

       12.    The Debtor filed this case as a single asset real estate entity as such term is
defined under Section 101(51B) of the Bankruptcy Code. (Id. at p. 2).

       13.    The Debtor’s Schedule D, filed with its petition, valued the Property at
$6,500,000.00. (Id. at p. 18).

       14.    The Debtor’s Schedule G says that the Debtor has no executory contracts and/or
unexpired leases. (Id. at p. 20).

       15.     The Debtor’s Statement of Financial Affairs indicates that the Debtor’s had
annual gross revenues of $641,084.37 for the year 2016 and $229,240 for the year 2017. (Id. at
p. 5).

       16.    The Debtor’s creditors’ matrix indicates that, other than the SEC and IRS, the
Debtor has only three (3) creditors: (a) Lender; (b) Tim Henzel; and (c) Xcel Energy.


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      17.     On February 19, 2018, the Debtor filed its Application to Employ CBRE, Inc.
(“Broker”), as Brokerage Firm for the Estate. (Docket No. 14).

        18.    Lender has filed its Notice Pursuant to Section 546(b) of the Bankruptcy Code in
order to perfect its security interest in the rents generated by the Property under the HTP Lease
and HTR Lease. (Docket No. 30).

       19.    The Debtor has not filed a sale motion, thereby explaining the necessity for the
Broker, nor a Chapter 11 plan. Furthermore, upon information and belief, Lender believes that
HTP and HTR owe the Debtor past due rent under their respective leases. Lender further
believes, upon information and belief, that Mr. Hard has sold substantially all of the assets of
both HTP and HTR, and has directed both such entities to refuse to pay their lease obligations.

       20.     As of the Petition Date, the amount due and owing under the terms of the Note
was no less than $3,521,833.33 with interest accruing per diem at the rate of $2,333.33.
 
                                       Relief Requested

       21.   Pursuant to Rule 2004 of the Bankruptcy Rules, the Lender seeks authorization to
obtain documents and oral testimony from the Debtor and its representative Mr. Hard.

        22.    The Lender seeks specific documents and testimony relating to the Property,
conduct, liabilities and financial condition of the Debtor, and other matters affecting the
administration of the bankruptcy estate. Such documents and testimony will be highly probative
of determining whether the Debtor has any possibility of reorganizing and/or proposing a
confirmable plan which will be highly probative of whether stay relief should be granted. See 11
U.S.C. § 362(d)(1) and (3). Additionally, Lender seeks documents and testimony regarding HTP
and HTR’s remaining obligations under their respective leases as the rents generated by such
leases are Lender’s collateral. Lender further seeks discovery regarding the nature and extent of
all claims, not just claims for back rent, the Debtor may pursue against HTP and HTR. The
discovery will be highly probative of whether grounds exist to appoint a Chapter 11 Trustee,
and/or whether to convert or dismiss the case to Chapter 7. Lender further seeks discovery
regarding the nature and extent of Tim Henzel’s claim against the Debtor. Lastly, Lender seeks
discovery surrounding the Debtor’s reasons for filing this Chapter 11 case due to the filing
hereof the day before the Trustee’s Sale.

       23.      Pursuant to L.B.R. 2014-1(b), Lender requests that the Court order the production
of documents to be made and testimony to be received be no later than the date that is fourteen
(14) days after service following entry of an order granting this Motion.

                                          Discussion

        24.     Rule 2004 of the Bankruptcy Rules provides that “[o]n motion of any party in
interest, the court may order the examination of any entity” relating “to the acts, conduct, or
property or to the liabilities and financial condition of the debtor, or to any matter which may


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affect the administration of the debtor’s estate, or to the debtor’s right to a discharge.” FED. R.
BANKR. P. 2004(a)-(b).

        25.    Rule 2004 “is a basic discovery device used in bankruptcy cases.” In re Blinder,
Robinson & Co., Inc., 127 B.R. 267, 275 (D. Colo. 1991). Rule 2004 permits the party invoking
it to undertake a broad inquiry of the examinee and has been likened to a “fishing expedition,”
although its use is not unlimited. See Blinder, 127 B.R. at 274; see also In re Valley Forge Plaza
Assoc., 109 B.R. 669, 674 (E.D. Pa. 1990) (“The scope of a [Rule] 2004 examination is even
broader than that of discovery permitted under the F.R.CIV.P., which themselves contemplate
broad, easy access to discovery.”).

         26.     “The purpose of a Rule 2004 examination is ‘to show the condition of the estate
and to enable the Court to discover its extent and its whereabouts, and to come into possession of
it, that the rights of the creditor may be preserved.’” In re Coffee Cupboard, Inc., 128 B.R. 509,
514 (Bankr. E.D.N.Y. 1991) (quoting Cameron v. United States, 231 U.S. 710, 717 (1914)). The
scope of inquiry permitted in a Rule 2004 examination is extremely broad. See, e.g., In re
Bakalis, 199 B.R. 443, 447 (Bankr. E.D.N.Y.); In re Wilcher, 56 B.R. 428, 433 (Bankr. N.D. Ill.
1985).

        27.     This Motion seeks authorization to conduct an examination of the Debtor and falls
squarely within the scope of a permissible Rule 2004 examination. As described above, the
Lender seeks documents and testimony concerning the conduct, property, liabilities and financial
condition of the Debtor, as well as certain matters that may affect the administration of the
Debtor’s bankruptcy estate. The discovery will help demonstrate whether grounds exist for the
appointment of a Chapter 11 Trustee, or whether dismissal is appropriate. Furthermore, the
discovery will likely lead to admissible evidence as to whether the Debtor has an ability to
reorganize under Chapter 11 which is directly relevant on whether to stay relief will be proper
under Section 362(d)(3) of the Bankruptcy Code. Additionally, the reasons for filing this
Chapter 11 case, on the eve of the Trustee’s Sale, will be relevant to determine whether the case
has been filed in bad faith which is relevant for purposes of Section 362(d)(1) in a single asset
real estate case. Consequently, the documents and examination sought by the Lender are within
the scope of Rule 2004 of the Bankruptcy Rules. See FED. R. BANKR. P. 2004(b).

        28.    The Lender requests that the Court enter an order: (a) authorizing the issuance of
a subpoena to the Debtor requiring the production of the documents specified in the Document
Requests attached as Exhibit 2 hereto and to be produced to the Lender with fourteen (14) days
after the Debtor has been served with a copy of any order granting this Motion; and (b)
authorizing the deposition of the Debtor by the Lender to occur shortly after the production of
documents but in no event later than five (5) business days after a complete production.

       29.     The Lender has not previously requested a Rule 2004 examination of the Debtor.

       WHEREFORE, the Lender respectfully requests that this Court enter an Order,
substantially in the form as attached hereto as Exhibit 3, that (i) authorizes the Lender to serve a
subpoena on the Debtor requiring production, no later than fourteen (14) days following service
of any order granting this Motion on him, of the documents described in the Document Request


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attached hereto as Exhibit 2; (ii) authorizes the Lender to take the deposition of the Debtor
shortly after the receipt of all documents produced but in no event later than five (5) business
days after a complete production; and (iii) grants such further relief as the Court deems just.

Dated: March 6, 2018                               MOYE WHITE LLP


                                                   /s/ Timothy M. Swanson
                                                   Timothy M. Swanson, Colorado No. 47267
                                                   1400 16th Street, Suite 600
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                                                   Investments, LLC




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                                CERTIFICATE OF SERVICE
        I hereby certify that on March 6, 2018, I electronically filed the foregoing 11380 EAST
SMITH RD INVESTMENTS, LLC’S, EX PARTE MOTION FOR RULE 2004
EXAMINATION OF DEBTOR 11380 SMITH ROAD, LLC with the clerk of the court using
the CM/ECF system, which will send notification of such filing to all parties receiving electronic
notice from the Court’s CM/ECF system, and via first class mail on the parties identified on the
Debtor’s Creditors’ Matrix as of March 6, 2018 attached hereto as Exhibit 4 along with a copy
upon the Debtor, Debtor’s counsel and counsel for the United States Trustee as identified below.


                                             s/ Timothy M. Swanson                 

 

11380 Smith Road, LLC
c/o Mr. Louis Hard
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Aurora, CO 80010
Debtor

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